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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,

         Plaintiff,

                 v.                                       CRIMINAL NO. 15-739 (PAD)

 JAVIER A. MUÑIZ-ALVAREZ (5)

         Defendant.


                               MEMORANDUM AND ORDER

        Before the Court is the “Government's Motion Pursuant to 18 U.S.C. § 3145 for a Stay and

De Novo Review of the Magistrate Judge’s Release Order’’ (Docket No. 56), which defendant

opposed (Docket No. 59). For the reasons explained below, defendant shall be detained without

bail pending trial.

                                   I.      BACKGROUND

        On December 2, 2015, Javier Muniz-Alvarez was charged with conspiring to engage in

bribery, fraud; and money laundering, and with attempt to obstruct, influence and impede an

official investigation by destroying records (Docket No. 3). On December 8, 2015, the government

moved for pretrial detention (Docket No. 62). A detention hearing was held before Magistrate

Judge Silvia Carreño-Coll, who authorized Muñiz’ release on bail with home detention, allowing

Muniz to continue or actively seek employment and study, contingent upon the payment of a

$10,000.00 bail and standard conditions of release. Id.

        The government moved for stay and revocation of the bail order, and requested a de novo

bail hearing (Docket No. 56), which Muñiz opposed (Docket No. 59). The court granted in part

the government’s motion, stayed Muñiz’ release pending de novo review, and scheduled a de novo

bail hearing (Docket No. 58). On December 9, 2015, the de novo hearing was held. The parties
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argued their positions. The government proceeded via proffer, and testimonial and documentary

evidence. Muniz cross-examined (Docket No. 65). Based on the information received during the

hearing, the court ordered that Muñiz remain under custody pending further review of testimony

and evidence.

                                     II.       STANDARD OF REVIEW

        The Bail Reform Act of 1984, 18 U.S.C. §§ 3141-3156, permits detention of a defendant

pending trial if no condition or combination of conditions will reasonably assure the appearance

of the person as required or the safety of any other person and the community. 18 U.S.C. §§

3142(b) and (e). The government must establish risk of flight by a preponderance of the evidence;

and/or dangerousness by clear and convincing evidence. United States v. Mercedes, 254 F.3d 433,

436 (2d Cir. 2001); United States v. Gebro, 948 F.2d 1118, 1121 (9th Cir. 1991).

        Where probable cause is found to believe that a defendant has committed a crime listed or

in the circumstances set forth in 18 U.S.C. § 3142(e), a rebuttable presumption arises that no

conditions or combination of conditions exist that will reasonably assure the appearance of the

defendant and the safety of the community. A grand jury indictment on a covered offense is enough

to demonstrate probable cause for purposes of triggering the presumption. United States v. Vargas,

804 F.2d 157, 163 (1st Cir. 1986); United States v. Holland, 922 F.Supp.2d 70, 71 (D.D.C. 2013).

        Once triggered, the presumption imposes on the defendant a burden of production. United

States v. O’Brien, 895 F.2d 810, 814-815 (1st Cir. 1990). The burden is not heavy. United States

v. Stone, 608 F.3d 939, 946 (6th Cir. 2010). It is satisfied introducing at least some evidence

contrary to the facts presumed. Id. Rebuttal evidence does not burst or destroy the presumption,

which does not disappear, maintaining evidentiary weight. United States v. Dillon, 938 F.2d 1412,

1416 (1st Cir. 1991); O’Brien, 895 F.2d at 814-815. The government retains the burden of
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persuasion throughout, in both presumption and non-presumption cases. Stone, 608 F.3d at 946;

Bess, 678 F.Supp.929 at 932. Review of a magistrate judge’s release order is de novo. United

States v. Tortora, 922 F.2d 880, 883 n. 4 (1st Cir. 1990). The court must state in writing the reasons

for the action taken. United States v. Moss, 887 F.2d 333, 338 (1st Cir. 1989); O’ Brien, 895 F.2d

at 813.

                                             III.      DISCUSSION

          The statutory presumption does not apply here. Muñiz is charged in Count 1 (Conspiracy

to Commit Federal Programs Fraud and Wire Fraud), Count 18 (Conspiracy to Commit Money

Laundering), and Count 23 (Destruction of Records). None of these offenses is listed in 18 U.S.C.

§§ 3142(e)(2) and (3), as offenses to which the detention presumption applies. 1 However, the

statute authorizes pretrial detention in cases that involve a serious risk that the defendant will


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   Offenses triggering the presumption include those carrying a maximum term of imprisonment of 10 years or more
under the Controlled Substances Act, 21 U.S.C. § 801 et seq., the Controlled Substances Import and Export Act, 21
U.S.C. § 951 et seq., or the Marine Drug Law Enforcement Act, 46 U.S.C. App. 1901 et seq.; and those under 18
U.S.C. 924(c)(use of firearm in crime of violence or in drug trafficking crime), 18 U.S.C. § 956(a)(conspiracy to kill,
kidnap, maim, or injure persons or damage property in a foreign country), or 18 U.S.C. § 2332(b) (acts of terrorism
transcending national boundaries); an offense listed in 18 U.S.C. § 2332(b)(5)(B)(federal crime of terrorism) for which
a maximum term of imprisonment of 10 or more years is prescribed; an offense under Chapter 77 of 18 U.S.C.
(“Peonage, Slavery, and Trafficking in Persons”), for which a maximum term of imprisonment of 20 years or more is
prescribed; or an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245,
2251, 2251A, 2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252(A)(a)(3), 2252A(a)(4), 2260, 2421, 2422, 2423, or 2425
(kidnapping, sex trafficking sexual abuse, abusive sexual contact, sexual exploitation, selling or buying of children,
certain child pornography offense, and transportation for illegal sexual offenses and related crimes). 18 U.S.C. §
3142(e)(3). The presumption is also triggered when the judicial officer finds that a defendant charged with a crime
listed in § 3142(f) was previously convicted for a similar crime while on release pending trial and no more than 5
years has elapsed since the conviction or release from imprisonment for that prior offense. 18 U.S.C. § 3142(e)(2).
For those purposes, qualifying offenses include crimes of violence under 18 U.S.C. § 3156(a)(4); a violation of 18
U.S.C. § 1591 (“Sex trafficking of children or by force, fraud or coercion”); offenses listed in 18 U.S.C. § 2332(B)
(acts of terrorism transcending national boundaries) for which a maximum term of imprisonment is 10 years or more
is prescribed; and an offense for which the maximum sentence is life imprisonment or death; an offense for which a
maximum term of imprisonment of 10 years or more is prescribed under the Controlled Substances Act, 21 U.S.C. §
801 et seq., the Controlled Substances Import and Export Act, 21 U.S.C. § 951 et seq., or the Marine Drug Law
Enforcement Act, 46 U.S.C. App. 1901 et seq.; any felony if the person has been convicted of 2 or more of the
described offenses or 2 or more equivalent State or local offenses or a combination of such offenses; or any felony
that is not otherwise a crime of violence that involves a minor victim, or possession or use of a firearm or destructive
device, or any other dangerous weapon; and failure to register under 18 U.S.C. § 2250 in connection with the Sex
Offender Registration and Notification Act. 18 U.S.C. § 3142(e)(2).
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threaten, injure, or intimidate, or attempt to threaten, injure or intimidate a prospective witness or

juror. 18 U.S.C. § 3142(f)(2)(B). The government seeks detention on that basis. In making a

detention determination, the court must consider the nature and circumstances of the offense

charged, the weight of the evidence against the defendant, the history and characteristics of the

defendant, and the nature and seriousness of the danger to any other person or the community that

would be posed by the defendant’s release. U.S.C. § 3142(g).

    A. RISK

        First, during the detention hearing, the government proffered that in October 2015, at a

point when the ongoing Grand Jury investigation giving rise to this case was known to Muñiz, he

told a prospective government witness words to the effect that he knew who were the snitches

talking to federal authorities about their business dealings, and that if anyone got him into trouble,

he was going to make sure to kill everyone, from the dog to the last member of the snitch’s family.

        Second, the government presented the testimony of Juan Carlos López, a Special Agent of

the FBI, who testified to have read the [FBI Form] 302 describing the statement Muñiz made, that

he spoke with the case agent advising him that he wanted to talk to the person who received the

threat, and that he spoke with that person, who confirmed the threat.

        In that regard, the person informed Special Agent López that Muñiz told her that he was

going to kill the snitch, the snitch’s family members, and their dog; that Muñiz had a lot of

connections in Moca; and that she feared for her life because Muñiz could send people to kill her.

As to the person’s demeanor, Special Agent López said that she started crying when he spoke with

her. The statements attributed to Muñiz are serious enough to be considered threatening. See,

United States v. Fontánez-Olivo, 937 F.Supp.2d 198, 200 (D.P.R. 2012)(denying bail to defendant

who threatened cooperating witness).
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        Muñiz states that this information came in as hearsay, and is not reliable. He contends that

the words attributed to him are no more than a figure of speech – a way of speaking – and that the

agents did not take them seriously. He argues that there is no recording; that agents did not place

the witness in the Federal Witness Protection Program; and that the information was not used to

support an obstruction of justice charge against Muñiz.

        Hearsay evidence is admissible in bail proceedings. United States v. Acevedo-Ramos, 755

F.2d 203, 207-208 (1st Cir. 1985). But it must be reliable. Id. Here that threshold is met, for the

information was included in a 302, and Special Agent López confirmed it with the witness.2 In

that sense, it is not information about general, unspecified threats, or relayed by an unknown source

the government has not interviewed for verification.

        That Muñiz was not recorded is unavailing; confirmation suffices. In like manner, that a

threat was not recorded does not mean it was not made even though the witness was not placed in

protective custody. There is no acknowledgement by the case agent or anybody else within the

FBI that the threat was fabricated, or deserving to be written off. For the same reason, the

information need not be incorporated into an indictment for it to be considered trustworthy. See,

Acevedo-Ramos, 755 F.2d at 205-206 (defendant charged with robbing over $600,000 in diamonds

detained pending trial because of risk of obstruction of justice even though he had not been charged

with obstruction of justice).

        Counsel’s characterization of Muñiz’ words as a figure of speech does not alter the

reliability calculus here. There is no evidence that Muñiz treated them as “a way of speaking.” To

this end, for example, he did not downplay the seriousness of what he had said as something not


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 Muñiz argues that the FBI received the statement on October 15, 2015, and drafted the 302 on October 20, 2015.
The sequence is unremarkable, for it is contemporaneous with the event to which it refers.
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to be taken seriously or not to be concerned about. Given the context, the words must be taken at

face value, and they suffice to show a threat against a government witness. See, United States v.

Torres, 427 Fed.Supp.2d 46, 50 (D.P.R. 2006)(rejecting argument that threats were a product of

defendant’s outrage at having found that confidential informant was attempting to consummate a

narcotics transaction in the cockfight arena that defendant managed).

    B. DETENTION FACTORS

        1. Nature and Circumstances of Offense

        As previously stated, Muñiz is charged in Count 1 (Conspiracy to Commit Federal

Programs Fraud and Wire Fraud), Count 18 (Conspiracy to Commit Money Laundering), and

Count 23 (Destruction of Records). As to the conspiracy to commit Federal programs fraud and

wire fraud, the Indictment, states that Muñiz conspired, combined, and agreed with codefendants

Anaudi Hernández Pérez, Sally López Martínez, Sonia Barreto Colón, Ivonne Falcón Nieves and

others known and unknown to the Grand Jury, to devise and intend to devise a scheme and artifice

to defraud and deprive the United States and citizens of Puerto Rico of honest services from public

officials Sally López, Sonia Barreto, and Ivonne Falcón; to corruptly give, offer, and agree to give

anything of value to public officials Sally López, an agent of the Workforce Development

Administration of Puerto Rico (Administración de Desarrollo Laboral or ADL by its Spanish

acronym), and Sonia Barreto, and Ivonne Falcón; both agents of the Acueducts and Sewers

Authority of Puerto Rico (Autoridad de Acueductos y Alcantarillados or AAA, by its Spanish

acronym), said entities having received federal financial assistance in excess of $10,000 in a one-

year period, with the intent of influencing and rewarding them, in connection with any business,

transaction, and series of transactions of ADL and AAA, involving anything of value of at least

$5,000, that is, recommendations for appointments and employment, dinners, gifts, entertainment
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and other things of value by and from codefendant Anaudi Hernández, in exchange for obtaining

favorable treatment and the awarding of government contracts to companies de facto controlled

by Hernández and other official acts (Docket No. 3, Count 1 at ¶¶ 11-15).

        According to the Indictment, Muñiz conspired to utilize JM Professional & Training Group

Inc., a corporation over which codefendant Anaudi Hernández exercised de facto control, to secure

government contracts (Id. at ¶¶ 2, 11(iv)), held meetings with codefendant Anaudi Hernández and

unindicted coconspirators to examine possible government contract and proposal of opportunities,

and to that effect, available proposals, agencies to find proposals, and companies that could be

created to obtain government contracts. Id. at ¶ 24.

        The purpose of the conspiracy of which Muñiz has been alleged to be a part of, was for the

defendants to utilize the public officials positions within the government of Puerto Rico to benefit

and enrich themselves through bribery. Id. at ¶ 16. In that regard, a conspirator like Muñiz need

not commit or even agree to commit the predicate acts that are elements of a substantive count, to

be found guilty of the conspiracy. It suffices that he adopted the goal of furthering or facilitating

the criminal endeavor. Salinas v. United States, 522 U.S. 52, 65 (1997). For the same reason, the

evaluation that the Bail Reform Act calls for is not limited to predicate acts ascribed to a particular

defendant in the conspiracy, but encompasses “the objectives and means of the conspiracy as a

whole, as alleged through the predicate acts ascribed to all enterprise participants.” See, United

States v. Ciccone, 312 F.3d 535, 542 (2d Cir. 2005) (so stating).

        In addition, the Indictment states that Muñiz conspired and combined with codefendant

Anaudi Hernández and others to conduct and attempt to conduct financial transactions affecting

interstate commerce, which transactions involved the proceeds of specified unlawful activity, that

is, proceeds of violations of 18 U.S.C. § 666 (bribery involving a program receiving federal funds),
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18 U.S.C. §§ 1343 and 1349 (wire fraud and conspiracy to commit wire fraud), knowing that the

transactions were designed in whole or in part to conceal and disguise the nature, location, source,

ownership, and control of the proceeds of specified unlawful activity, and that while conducting

and attempting to conduct such financial transactions, knowing that the property involved in the

financial transactions represented the proceeds of some form of unlawful activity, in violation of

18 U.S.C. § 1956(a)(1)(B)(i) (Docket No. 3, Count 18).

        Finally, the Indictment points out that Muñiz aided and abetted codefendant Carlos F. Luna

to corruptly attempt to obstruct, influence and impede and investigation being conducted by the

Federal Bureau of Investigation to determine whether violations of 18 U.S.C. §§666, 1343, 1349,

and 1956 had been committed, by replacing computers utilized by JM Professional & Training

Group Inc., to conduct official business with the Workforce Development Administration of Puerto

Rico (Administración de Desarrollo Laboral or ADL by its Spanish acronym), in order to keep

authorities from having access to their contents (Docket No. 3, Count 23). If convicted, Muñiz

faces a maximum term of imprisonment of 5 years for Count 1, 20 years of imprisonment for

Count 18, and 10 years of imprisonment for Count 23. The offenses charged and statutory

exposure underpinning them favor detention. 3

        2. Weight of Evidence

        The government proffered there are witnesses with first-hand knowledge of the offenses

involving Muñiz, in addition to documentary evidence (financial reports from different banking

institutions), a recording, a video, and electronic communications. To that extent, the evidence


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   According to the government, based on the advisory sentencing guidelines Muñiz faces close to 8 years of
imprisonment for the offenses charged. Defense counsel stated that in another case with the same maximum penalties
he received an offer for a 6-month term of imprisonment. For present purposes, the court is entitled to rely on
maximum statutory terms of imprisonment. Moss, 887 F.2d at 336.
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against Muñiz must be considered strong. For purposes of bail determination, there is no evidence

inconsistent with a finding of guilt. See, United States v. Gray, 529 F.Supp.2d 177, 181 (D.Mass.

2007)(so noting in rejecting claim that weight of evidence was weak). Compare that situation with

the one evaluated in United States v. Torres-Rosario, 600 F.Supp.2d 327, 334 (D.P.R. 2009), where

the only witness against the defendant failed to identify him in court during the bail hearing even

though he was the only person in the courtroom dressed in an inmate jumpsuit and was sitting at

the defense counsel table next to his attorneys. This factor favors detention.

        3. History and Characteristics of the Defendant

        The Pretrial Services Report states that Muñiz is a 34-year-old, self-employed, doctoral

student with no prior criminal record. He has a common law wife and, a 10-month child. These

elements favor release.

        4. The Danger Posed to the Community by Defendant’s Release

        The words attributed to Muñiz are threatening. The legislative history of the Bail Reform

Act repeatedly emphasizes that defendants who have threatened witnesses pose a significant

danger to the community. See, S. Rep. No. 225, 98th Cong., 1st Sess. At 7, 12, 15, 21, reprinted

in 1984 U.S. Code Cong. & Adm. News at 10, 15, 18, 24, 25 (Supp. 9a). From the firearm

authorization resolution submitted in evidence, Muñiz had been the manager of a business (Docket

No. 65, Exh. 2). Based on the Pretrial Services Report, he is a self-employed farmer, with life-

long residence in Moca. These activities do not take place in a vacuum. Combined, they confirm

that, as the informant stated, Muñiz has connections in Moca. Further, Muñiz had an authorization

to possess and carry a firearm. Id. When he was arrested, he provided it to the arresting officer.

But he had practiced in a shooting range with a weapon or weapons of different caliber(s). And a
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Puerto Rico Police Department Report shows that he had interacted with 3 different guns shops

(Id., Exh. 3a).

        Together with the threat and Muñiz’ contacts with Moca, his familiarity with firearms of

different calibers and interactions with shooting range and armories pose a serious risk the court

cannot overlook, that he will obstruct or attempt to obstruct justice by threatening, injuring, or

intimidating, or attempting to threaten, injure, or intimidate prospective witnesses. In connection

with bail determination, the court is persuaded that Muñiz said what he meant, and means what he

said.

                                          IV.      CONCLUSION

        Having carefully considered all the evidence as well as the available range of release

conditions, the court concludes that the government has shown, by clear and convincing evidence,

that no condition or combination of conditions will reasonably assure the safety of the witness and

the community if Muñiz is released. The threat, nature and circumstances of the offenses charged

including potential penalties, the weight of the evidence, the danger posed to others, and Muñiz’

experience with firearms and contacts outbalance other elements in his personal and history and

characteristics arguably supporting release even under the conditions that the Magistrate Judge set

at Docket No. 82. The totality of the evidence submitted in the de novo hearing require detention.

Therefore, Muñiz shall be detained without bail pending trial.

        SO ORDERED.

        In San Juan, Puerto Rico, this 14th day of December 2015.

                                                             S/Pedro A. Delgado-Hernández
                                                             PEDRO A. DELGADO-HERNÁNDEZ
                                                             United States District Judge
